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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

David J. Ball,
                                              Case No. 2:20–cv–1759
      Plaintiff,
                                              Judge Michael H. Watson
      v.
                                              Chief Magistrate Judge Deavers
State of Ohio, et al.,

      Defendants.

                                      ORDER

       On April 23, 2020, Chief Magistrate Judge Deavers issued an order and

initial screen report and recommendation (“R&R”) recommending that this case

be dismissed without prejudice. ECF No. 4.

      Plaintiff was notified of his right to file objections to the R&R pursuant to 28

U.S.C. § 636(b)(1). Id. at 7. Chief Magistrate Judge Deavers also specifically

advised Plaintiff that the failure to object to the R&R within fourteen days would

result in a waiver of both the right to de novo review by the District Judge and the

right to appeal the decision of the District Court adopting the R&R. Id. at 8.

      The deadline for filing such objections has passed, and no objections were

filed. Having received no objections, the R&R is ADOPTED. This case is

DISMISSED WITHOUT PREJUDCE. The Clerk shall TERMINATE this case.

      IT IS SO ORDERED.

                                __/s/ Michael H. Watson_________________
                                MICHAEL H. WATSON, JUDGE
                                UNITED STATES DISTRICT COURT
